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         EXHIBIT A
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   From:           Ethan Corey
   To:             Ethan Corey
   Cc:             FOIAOJP
   Subject:        Re: FOIA Request (10/10/2019): DCRA Data Collection Activities
   Date:           Thursday, October 10, 2019 3:19:31 PM


   AMENDMENT TO MY REQUEST:

   I neglected to provide a mailing address in my request. Though I anticipate that the requested
   records are all digital, if you need to contact me by mail, my address is:

   Ethan Corey
   1 Lawrence Dr, Apt. 602
   Princeton, NJ 08540

   On Thu, Oct 10, 2019 at 3:14 PM Ethan Corey <ethan.corey@theappeal.org> wrote:
    To Whom It May Concern:

     Pursuant to the Freedom of Information Act, I hereby request the following records:

     -The number of jail deaths reported (and/or unique CJ-9 forms submitted) by each jail
     facility participating in the Mortality in Correctional Institutions reporting program (f.k.a.
     the Death in Custody Reporting Program) each year from 2000 to 2018, inclusive.

     Locating the Records:

     Record-level data on jail deaths reported by local jails from 2000-2013 are currently
     available in the National Archive of Criminal Justice Data, in the restricted-access data file
     ICPSR 34286 (https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/34286/summary).
     While public access to the full data file is restricted because of the personally-identifiable
     information it contains, Section 12 of the OPEN Government Act of 2007, Pub. L. No. 110-
     175, requires that agencies provide any reasonably segregable, non-exempt information
     contained in documents that are responsive to FOIA requests. At a minimum, the data
     recorded in the following columns contained in the data-file are clearly segregable, non-
     exempt information: YEAR, STATE, FACLOC, FACNAME_J, CAUSECOL, FACID,
     PLACE2000_2013. I hereby request the data from those columns and any other non-exempt
     information contained in the ICPSR 34286 data file.

     Additionally, CJ-9 forms are submitted by local facilities on an ongoing basis each year
     through an online portal maintained by BJS contractor RTI International
     (https://bjsmci.rti.org/). As such, the number of deaths reported/CJ-9 forms submitted by
     each facility is likely in the possession of RTI International. Because RTI International
     collects this data as part of BJS-funded research, the data are required to be disclosed
     under the Data Access Act of 1999 and OMB Circular A-110 Section 36(d)(1). If any
     portion of this data is determined to be exempt from disclosure for any reason, I request you
     provide any reasonably segregable, non-exempt information contained in the responsive
     records.

     Further Notes:

     I am making this request as a representative of the news media/press (TheAppeal.org), and
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    this request is made in the process of news gathering and not for commercial usage. The
    requested documents will be made available to the general public.

    In the event that there are fees, I would be grateful if you would inform me of the total
    charges in advance of fulfilling my request. I would prefer the request be filled
    electronically, by e-mail attachment if available or DVD-ROM if not.

    Thank you in advance for your anticipated cooperation in this matter. I look forward to
    receiving your response to this request within 20 business days, as the statute requires. If
    you have any questions in the meantime, please email me here or give me a call at (917)
    794-4583.

    Sincerely,

    Ethan Corey


    --
    Ethan Corey (he/him)
    Senior Fact Checker & Researcher
    (917) 794-4583




   --
   Ethan Corey (he/him)
   Senior Fact Checker & Researcher
   (917) 794-4583
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         EXHIBIT B
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 5 of 56 Page ID #:15
                                   U.S. Department of Justice

                                               Office of Justice Programs

                                      Office of the General Counsel
    _________________________________________________________________________

                                               Washington, D.C. 20531

                                               October 28, 2019

  VIA Electronic Mail
  ethan.corey@theappeal.org

  Ethan Corey
  Senior Fact Checker & Researcher
  The Appeal
  1 Lawrence Drive, Apt 602
  Princeton, NJ 08540

  Re:    OJP FOIA No. 20-FOIA-00016

  Dear Mr. Corey:

  This is to acknowledge receipt of your October 10, 2019, Freedom of Information Act/Privacy
  Act (FOIA/PA) request, which was received in the Office of Justice Programs (OJP), Office of
  the General Counsel, on the same date. A copy of your request is attached for your convenience.

  The records you seek require a search in another OJP office and so your request falls within
  "unusual circumstances." See 5 U.S.C. § 552(a)(6)(B)(i)-(iii). Because of these unusual
  circumstances, we are extending the time limit to respond to your request beyond the ten
  additional days provided by the statute. We have not yet completed a search to determine
  whether there are records within the scope of your request. The time needed to process your
  request will necessarily depend on the complexity of our records search and on the volume and
  complexity of any records located. For your information, this office assigns incoming requests to
  one of three tracks: simple, complex, or expedited. Each request is then handled on a first-in,
  first-out basis in relation to other requests in the same track. Simple requests usually receive a
  response in approximately one month, whereas complex requests necessarily take longer. At this
  time, your request has been assigned to the complex track. You may wish to narrow the scope of
  your request to limit the number of potentially responsive records or agree to an alternative time
  frame for processing, should records be located; or you may wish to await the completion of our
  records search to discuss either of these options.

  In addition, we note that you would like to be informed of the total charges in advance of
  fulfilling your request.

  Your request is assigned to a member of our FOIA staff for processing. If you have any
  questions or wish to discuss reformulation or an alternative time frame for the processing of your
  request, you may contact the Office of the General Counsel at (202) 307-6235, via e-mail at
  FOIAOJP@usdoj.gov, or you may write to this office at:
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                             US DOJ, Office of Justice Programs
                             Office of the General Counsel
                             810 7th Street, NW, Room 5400
                             Washington, D.C. 20531
                             Attn: FOIA

  Please include the above-referenced OJP FOIA number. Lastly, you may contact our FOIA
  Public Liaison at the above telephone number to discuss any aspect of your request.

  Thank you,


  FOIAOJP
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         EXHIBIT C
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                                         U.S. Department of Justice

                                                      Office of Justice Programs

                                            Office of the General Counsel
    _________________________________________________________________________
                                                      Washington, D.C. 20531


                                                      March 31, 2020

  VIA Electronic Mail
  ethancorey@theappeal.org

  Ethan Corey
  Senior Fact Checker & Researcher
  The Appeal
  1 Lawrence Drive, Apt. 602
  Princeton, NJ 08450

  Re:    OJP FOIA No. 20-FOIA-00016

  Dear Mr. Corey:

  This letter responds to your October 10, 2019, Freedom of Information Act/Privacy Act
  (FOIA/PA) request, which was received in the Office of Justice Programs (OJP), Office of the
  General Counsel, on the same date. A copy of your request is attached for your convenience.

  Please be advised that a search has been conducted in OJP and records consisting of 182,611
  pages were located that are responsive to your request. After carefully reviewing the records, I
  have determined that 182,611 pages are exempt from disclosure pursuant to exemption (b)(3) of
  the Freedom of Information Act, 5 U.S.C. § 552 (2018). Exemption (b)(3) authorizes an agency
  to withhold information prohibited from disclosure by another statute. This provision concerns
  matters specifically exempted from release by statute (in this instance, 34 U.S.C. §§ 10134 and
  10231, which pertains to research or statistical information collected by the Bureau of Justice
  Statistics and must remain confidential). This completes the processing of your request by OJP.

  You may contact a member of our FOIA staff at (202) 307-6235, via e-mail at
  FOIAOJP@usdoj.gov as well as our FOIA Public Liaison, for any further assistance and to
  discuss any aspect of your request at:

                        US DOJ, Office of Justice Programs
                        Office of the General Counsel
                        810 7th Street, NW, Room 5400
                        Washington, D.C. 20531
                        Attn: FOIA

  Additionally, you may contact the Office of Government Information Services (OGIS) at the
  National Archives and Records Administration to inquire about the FOIA mediation services
  they offer. The contact information for OGIS is as follows: Office of Government Information
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  Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College
  Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at
  1-877-684-6448; or facsimile at 202-741-5769.

  If you are not satisfied with OJP’s determination in response to this request, you may
  administratively appeal by writing to the Director, Office of Information Policy (OIP), United
  States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may
  submit an appeal through OIP's FOIA STAR portal by creating an account following the
  instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-request-or-appeal.
  Your appeal must be postmarked or electronically transmitted within 90 calendar days of the date
  of my response to your request. If you submit your appeal by mail, both the letter and the
  envelope should be clearly marked “Freedom of Information Act Appeal.”

  Sincerely,

  p.p. Chandria Slaughter

  Rafael A. Madan
  General Counsel

  Attachment
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         EXHIBIT D
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 11 of 56 Page ID #:21

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  June 20, 2020
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  Director, Office of Information Policy (OIP)
  United States Department of Justice
  441 G Street, NW, 6th Floor
  Washington, D.C. 20530

  Dear FOIA Appeals Officer:

           This is a timely administrative appeal of the adverse determination of the United States
  Department of Justice’s Office of Justice Programs (“OJP”) on my October 10, 2019, Freedom
  of Information Act (“FOIA”) request, No. 20-FOIA-00016. Specifically, I appeal the agency’s
  use of Exemption 3; its failure to segregate non-exempt material from responsive records; and its
  failure to meet its burden under FOIA’s “foreseeable harm” standard.

                                                Procedural History

           On October 10, 2019, I submitted a FOIA request to the OJP’s Office of the General
  Counsel, seeking access to records concerning “the number of jail deaths reported (and/or unique
  CJ-9 forms submitted) by each jail facility participating in the Mortality in Correctional
  Institutions reporting program (f.k.a. the Death in Custody Reporting Program) each year from
  2000 to 2018, inclusive.”1 I expected the requested records would include data files from the
  National Archive of Criminal Justice Data (“NACJD”), CJ-9 forms submitted by jail
  administrators to the Bureau of Justice Statistics (“BJS”), and/or annual CJ-9A summary forms
  submitted by jail administrators to the BJS.2 I requested a fee waiver as a representative of the
  news media.3
          By letter, dated March 31, 2020, OJP’s Office of the General Counsel provided its final
  determination, indicating that it had located 182,611 pages of records responsive to my FOIA
  request.4 The letter stated that all 182,611 pages of the records were exempt from disclosure
  pursuant to exemption (b)(3) of the Freedom of Information Act, 5 U.S.C. § 552 (2018), which
  allows for the withholding of information specifically exempted from release by another statute.5
  This timely appeal follows the adverse determination regarding my request by the OJP Office of
  the General Counsel.
                                                      Argument
      I.       Exemption 3 does not allow the withholding of the records at issue.




  1. Letter from Ethan Corey to OJP Office of the General Counsel, October 10, 2019, at 2 (attached as Exhibit 1).
  2. Id. at 3–4.
  3. Id. at 5. I am a senior fact checker and researcher for the Appeal, a national, non-profit news agency that covers
  the criminal-legal system. See https://theappeal.org/about/.
  4. Letter from Chandria Slaughter, OJP Office of the General Counsel, March 31, 2020, at 2 (attached as Exhibit 2).
  5. Id.
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          Exemption 3 protects information that is “specifically exempted from disclosure by
  statute,” provided that the statute either (1) requires the information “be withheld . . . in such a
  manner as to leave no discretion on the issue” or (2) “establishes particular criteria for
  withholding or refers to particular types of matters to be withheld.”6 In this case, the agency cites
  34 U.S.C. §§ 10134 and 10231, which state in full, respectively:
          Data collected by the Bureau [of Justice Statistics] shall be used only for statistical or
          research purposes, and shall be gathered in a manner that precludes their use for law
          enforcement or any purpose relating to a private person or public agency other than
          statistical or research purposes.7
  And:
          No officer or employee of the Federal Government, and no recipient of assistance under
          the provisions of this chapter shall use or reveal any research or statistical information
          furnished under this chapter by any person and identifiable to any specific private person
          for any purpose other than the purpose for which it was obtained in accordance with this
          chapter. Such information and copies thereof shall be immune from legal process, and
          shall not, without the consent of the person furnishing such information, be admitted as
          evidence or used for any purpose in any action, suit, or other judicial, legislative, or
          administrative proceedings.8
          OJP has failed to meet its burden in demonstrating the applicability of either 34 U.S.C. §
  10134 (“Section 10134”) or 34 U.S.C. § 10231 (“Section 10231”). In the case of Section 10134,
  there is no evidence that the statute prohibits the disclosure of jail mortality data aggregated at
  the jurisdiction level; the BJS currently makes a wide variety of jurisdiction-level data available
  to the public, much of it collected under the same authority as the jail mortality data.9 As for
  Section 10231, the statute only prohibits the disclosure of “information . . . identifiable to a
  specific private person”; the records I requested either (1) contain no information identifiable to a
  specific private person or (2) to the extent they do contain such information, the records contain
  reasonably segregable, non-exempt information responsive to my request.
      A. Section 10134 does not apply to data aggregated at the jurisdiction level.
           Section 10134 restricts the use of data collected by BJS to “statistical or research
  purposes.” This restriction prohibits the agency from using its data for non-statistical purposes,
  such as enforcing federal laws or regulations, but it does not bar BJS from sharing much of the
  data it collects with the public. The relevant question, therefore, is whether or not the publication
  of data aggregated at the local jurisdiction level is among the “statistical or research purposes”

  6. 5 U.S.C. § 552(b)(3).
  7. 34 U.S.C. § 10134.
  8. 34 U.S.C. § 10231.
  9. See, e.g., the “Deaths in Custody Reporting Program: Jail Populations, 2000–2013 (ICPSR 36560)” data
  collection, publicly available at https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/36560/summary.
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  for which BJS is authorized to use its data. BJS’s consistent practice of publishing other data at
  the jurisdiction level, including data collected as part of the Mortality in Correctional Institutions
  data collection program, makes it clear that Section 10134 does not bar the release of the jail
  mortality data records I requested.
          The BJS’s Data Protection Guidelines adopt the definition of “statistical purpose” as
  defined in Section 502(9)(A) of the E-Government Act of 2002, which defines the term as “the
  description, estimation, or analysis of the characteristics of groups, without identifying the
  individuals or organizations that comprise such groups.”10 As evidenced by the BJS’s own
  practices, this definition does not prohibit the release of data aggregated at the jurisdiction level.
           As part of the agency’s mission to support research on the criminal-justice system, the
  BJS archives all data collected by the agency at NACJD. Pursuant to the agency’s Data
  Protection Guidelines, “[d]ata that do not contain personally identifiable information are
  available for public access download.”11 NACJD already makes several data collections
  containing data aggregated at the individual jail jurisdiction level available for public access
  download.12 In particular, the “Deaths in Custody Reporting Program: Jail Populations, 2000-
  2013 (ICPSR 36560)” data collection includes “year-end collections of population and
  admissions data from all jail jurisdictions nationwide,” all aggregated at the jurisdiction level.13
  In fact, all of this data is collected pursuant to the agency’s Mortality in Correctional Institutions
  reporting program, and most of this information is collected via the annual CJ-9A summary
  forms submitted by each jail jurisdiction to the BJS.14 Section 10134 makes no distinction
  between different kinds of jurisdiction-level data: If the total number of correctional officers
  employed at each jail jurisdiction is subject to disclosure, then the total number of deaths at each
  jail jurisdiction is subject to disclosure as well.




  10. Bureau of Justice Statistics Data Protection Guidelines, April 26, 2018, at 7 (available at
  https://www.bjs.gov/content/pub/pdf/BJS_Data_Protection_Guidelines.pdf); E-Government Act of 2002, Public
  Law 107-347, Section 502(9)(A).
  11. Id. at 22.
  12. In addition to the “Deaths in Custody Reporting Program: Jail Populations, 2000–2013 (ICPSR 36560)” data
  collection mentioned below, NACJD publishes the “Annual Survey of Jails” data collection, which includes
  jurisdiction-level data from roughly 900 jurisdictions each year (publicly available at
  https://www.icpsr.umich.edu/web/ICPSR/series/7). Additionally, the BJS’s practice of making jurisdiction-level
  data publicly available extends beyond jails. See, for instance, the “Directory of Law Enforcement Agencies, 1996:
  [United States] (ICPSR 2260)” data collection, which includes “data on the number of sworn and nonsworn
  personnel” employed by “49 primary state law enforcement agencies and all sheriffs' departments, local police
  departments, and special police agencies (state or local) that are publicly funded and employ at least one sworn
  officer with general arrest powers,” (publicly available at
  https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/2260/version/1).
  13. “Deaths in Custody Reporting Program: Jail Populations, 2000–2013 (ICPSR 36560)” data collection, publicly
  available at https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/36560/summary.
  14. Codebook for “Deaths in Custody Reporting Program: Jail Populations, 2000–2013 (ICPSR 36560)” (available
  for download at https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/36560/datadocumentation#).
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          In interpreting FOIA Exemption 3, courts have held that categories of records released by
  agencies in an “inconsistent manner” are generally not exempt from disclosure under Exemption
  3.15 The BJS’s practice of releasing some jurisdiction-level data to the public therefore creates a
  presumption that Section 10134 does not prohibit the disclosure of jurisdiction-level data. In fact,
  if Section 10134 did prohibit such disclosure, the BJS would be in routine violation of the law, as
  it publishes jurisdiction-level data for more than 3,000 jail jurisdictions across the United States
  on an annual basis.16
          To qualify as an Exemption 3 withholding statute, the statute must (1) require the
  information “be withheld . . . in such a manner as to leave no discretion on the issue” or (2)
  establish “particular criteria for withholding” or refer “to particular types of matters to be
  withheld.”17 The BJS’s practice of releasing jurisdiction-level data gathered using the same CJ-
  9A forms I have requested indicates that the agency does have discretion on the issue, and the
  “particular criteria for withholding” or “particular types of matters to be withheld” outlined by
  Section 10134 provide no indication that mortality data aggregated at the jurisdiction level would
  be exempt from disclosure while other demographic data aggregated at the same jurisdiction
  level are not.
         Therefore, to the extent that records responsive to my request contain information
  aggregated at the jurisdiction level, they do not qualify for exemption under Section 10134.
      B. Section 10231 only applies to personally identifiable information.
          A plain reading of the statute makes it clear that it applies only to “research or statistical
  information furnished under this chapter by any person and identifiable to any specific private
  person [emphasis added].”18 Information that is not identifiable to any specific private person,
  therefore, is not covered by the statute. Because my request asked for records containing
  information aggregated at the jurisdiction level, Section 10231 does not apply.
          Importantly, jail jurisdictions do not qualify as “private person[s]” for the purpose of
  Section 10231. Federal regulations governing the confidentiality of statistical information
  collected by executive-branch statistical agencies define “person” as including “individuals,
  organized groups of individuals, societies, associations, firms, partnerships, business trusts, legal




  15. For instance, the Southern District of Ohio has held FBI rap sheets are subject to FOIA, because Exemption 3
  does not cover statutes that give agencies discretion over the release of records. The court held that the FBI’s past
  release of rap sheets to the public indicated that “the FBI had exercised such discretion by its inconsistent manner of
  releasing rap sheets to the public.” (Reporters Comm., 816 F.2d at 736 n.9; see also Dayton Newspapers, Inc. v.
  FBI, S.D. Ohio Feb. 9, 1993.)
  16. Both the Annual Survey of Jails and the Deaths in Custody Reporting Program collect and publish jurisdiction-
  level data on an annual basis. See, supra, notes 12 and 13.
  17. 5 U.S.C. § 552(b)(3).
  18. 34 U.S.C. § 10231.
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  representatives, companies, joint stock companies, and corporations.”19 Notably, this definition
  does not include public agencies or local government jurisdictions. Additionally, Section 10134
  itself distinguishes between “private person[s]” and “public agenc[ies].” If Congress had
  intended Section 10231 to apply to public agencies or local government jurisdictions, they would
  have stated so explicitly.
          Therefore, any records responsive to my request that contain information aggregated at
  the jurisdiction level that is not identifiable to any specific private person are not exempt from
  disclosure under Section 10231.
      II.      The OJP has failed to segregate non-exempt information from responsive
               records.
          Under the OPEN Government Act of 2007, agencies must provide any reasonably
  segregable, non-exempt information contained in documents that are responsive to FOIA
  requests.20 Assuming without conceding that information contained in some or all of the records
  I requested may include exempt, personally identifiable details, those records also contain
  reasonably segregable, non-exempt information that must be disclosed in response to my request.
          Even in cases where full disclosure of a document or category of documents is
  specifically prohibited by law and/or covered by Exemption 3, courts have held that agencies
  must nonetheless release all reasonably segregable portions of documents that contain non-
  exempt information. For instance, in Neufeld v. Internal Revenue Service, the U.S. Circuit Court
  of Appeals for the District of Columbia held that statutes specifically prohibiting the disclosure
  of tax return information satisfied the requirements of Exemption 3; nonetheless the court ruled
  that “only if exempt and nonexempt information are ‘inextricably intertwined’ . . . may the court
  allow an entire document to be withheld pursuant to a FOIA exemption.”21
           Much of the information contained in the records responsive to my request likely falls in
  the category of reasonably segregable, non-exempt information. In the case of the CJ-9 forms,
  jail jurisdictions provide the BJS with the name, gender, date of birth, age, and cause of death,
  among other information, for each individual that dies in jail custody or in the process of arrest.22
  Assuming, arguendo, that much of this information is personally identifiable to a private person,
  the CJ-9 form contains many other pieces of information that clearly are not identifiable to any
  private person, such as the general location of the death (i.e., in a general housing unit, in a
  segregation unit, etc.) and the general cause of death (i.e., illness, homicide, suicide, etc.).

  19. Office of Management and Budget, “Order Providing for the Confidentiality of Statistical Information and
  Extending the Coverage of Energy Statistical Programs Under the Federal Statistical Confidentiality Order,” Federal
  Register Volume 62, Number 124 (Friday, June 27, 1997), at 35047.
  20. OPEN Government Act of 2007, Pub. L. No. 110–175, Section 12.
  21. Neufeld v. Internal Revenue Service, 646 F.2d 661, 665–666 (D.C. Cir. 1981).
  22. See, e.g., Form CJ-9, “Mortality in Correctional Institutions 2018 Death Report on Inmates Under Jail
  Jurisdiction,” OMB No. 1121-0094 (available at https://www.bjs.gov/content/pub/pdf/CJ9_2018.pdf). Prior versions
  of the form are nearly identical in most ways.
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  Additionally, aside from perhaps an individual’s date of birth, other demographic information
  such as race, gender, age, or legal status are not personally identifiable to any particular private
  person absent that individual’s name. Thus, if the individual’s name were redacted, almost none
  of the information contained in the CJ-9 form would be exempt from disclosure under either
  statute the agency cited.23
           Another set of records presumably responsive to my request are those included in the
  NACJD’s “Deaths in Custody Reporting Program: Local Jails, 2000–2013 (ICPSR 34286)” data
  collection.24 While NACJD restricts public access to this dataset due to its inclusion of
  personally identifiable information, such as decedents’ names, it also contains reasonably
  segregable, non-exempt information. At a minimum, the data recorded in the following columns
  contained in the data-file are clearly segregable, non-exempt information: YEAR (the year a
  death took place), STATE (the state in which a death occurred), FACLOC (the city in which the
  jail facility is located), FACNAME_J (the name of the jail facility in which the death occurred),
  CAUSECOL (the general cause of death), FACID (a unique identifier for each jail facility), and
  PLACE2000_2013 (the general location within the jail facility in which the death occurred).25
          Other responsive records, such as the annual CJ-9A summary forms submitted by jail
  administrators, contain little if any personally identifiable or other exempt information.26 Thus,
  there is no justification for withholding the non-exempt portions of these records.
      III.      OJP has not met its burden under the “foreseeable harm” standard.
         Under the FOIA Improvement Act of 2016, an agency may only withhold information
  under FOIA if it meets the following “foreseeable harm” standard:
             (A) An agency shall—
             (i) withhold information under this section only if—
             (I) the agency reasonably foresees that disclosure would harm an interest protected by an
             exemption described in subsection (b); or


  23. Importantly, the D.C. Circuit Court of Appeals has held that simple redaction of personally identifiable
  information may be sufficient to render all other information in a document non-exempt, even if it pertains to a
  particular private person and would be exempt if it were disclosed in conjunction with personally identifiable
  information. In Neufeld, the court held, “It is conceivable that a taxpayer letter might contain some items of
  information listed in § 6103(b)(2)(A), for example, the ‘amount of his income,’ such that the disclosure of the letter
  would pose no risk of identifying the taxpayer if his name and address were deleted.” Neufeld v. Internal Revenue
  Service, 646 F.2d 661, 665 (D.C. Cir. 1981).
  24. NACJD, “Deaths in Custody Reporting Program: Local Jails, 2000–2013 (ICPSR 34286),” available at
  https://www.icpsr.umich.edu/icpsrweb/NACJD/studies/34286/summary.
  25. NACJD, Codebook for “Deaths in Custody Reporting Program: Local Jails, 2000–2013 (ICPSR 34286),”
  available for download at https://icpsr.umich.edu/icpsrweb/NACJD/studies/34286/datadocumentation.
  26. See, for instance, Form CJ-9, “Deaths in Custody—2016 Annual Summary on Inmates Under Jail Jurisdiction,”
  OMB No. 1121-0094 (available at https://www.bjs.gov/content/pub/pdf/CJ9A_2016.pdf). Prior versions of the form
  are nearly identical in most ways.
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 17 of 56 Page ID #:27

  United States Department of Justice
  June 20, 2020
  Appeal: DOJ-OJP Request # 20-FOIA-00016
  Page 7

          (II) disclosure is prohibited by law; and
          (ii) (I) consider whether partial disclosure of information is possible whenever the agency
          determines that a full disclosure of a requested record is not possible; and
          (II) take reasonable steps necessary to segregate and release nonexempt information.27
  Under this “foreseeable harm” standard, an agency cannot withhold records merely on the basis
  of conclusory statements about the technical application of a statutory exemption; it must instead
  provide precise reasons why specific records, or portions thereof, could be reasonably foreseen
  to harm an interest protected by an exemption or are prohibited from disclosure by law.28
  Furthermore, when an agency does determine that full disclosure of a record would lead to a
  foreseeable harm or violation of federal law, the standard requires that the agency must also
  determine whether partial disclosure of the record is possible and take reasonable steps to
  segregate and release nonexempt information. OJP has not met its burden under this standard.
          Courts have already recognized the impact of this new standard. For instance, in
  Ecological Rights Foundation v. F.E.M.A., the Northern District of California held that an
  agency could not rely on Exemption 5, along with the deliberative process privilege, because it
  failed to “provide basic information about the deliberative process at issue and the role played by
  each specific document.”29 In Rosenberg v. Department of Defense, the D.C. district court
  allowed that agencies could “take a categorical approach” by grouping together like documents,
  but nonetheless agencies must still “explain the foreseeable harm of disclosure for each
  category” of documents.30
         While 5 U.S.C. § 552(a)(8)(B) does state that “Nothing in this paragraph requires
  disclosure of information that is otherwise prohibited from disclosure by law, or otherwise
  exempted from disclosure under subsection (b)(3),” this does not relieve OJP of its burden to
  make specific determinations regarding the applicability of Exemption 3 to “each specific
  document” or “each category” of documents responsive to a request, as well as determinations
  regarding the partial disclosure of any portion of each specific document or category of
  documents if it determines that Exemption 3 prohibits full disclosure of the documents.
          Given that the OJP found more than 180,000 pages of documents responsive to my
  request (presumably encompassing, at a minimum, three categories of documents: viz. CJ-9
  death forms, CJ-9A summary forms, and NACJD data collections), a conclusory statement that
  Sections 10134 and 10231 cover all of the documents in their entirety does not meet this burden.


  27. 5 U.S.C. § 552(a)(8)
  28. See 162 Cong. Rec. S1496 (daily ed. Mar. 15, 2016) (statement of Sen. Leahy) (“Importantly, codifying the
  presumption of openness will help reduce the perfunctory withholding of documents through the overuse of FOIA
  exemptions. It requires agencies to consider whether the release of particular documents will cause any foreseeable
  harm to an interest the applicable exemption is mean to protect.”).
  29. Ecological Rights Foundation v. FEMA, No. 16-cv-05254-MEJ, 2017 WL 5972702 (N.D. Cal., Nov. 30, 2017).
  30. Rosenberg v. DOD, 342 F. Supp. 3d 62 (D.D.C. Sept. 27, 2018).
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 18 of 56 Page ID #:28

  United States Department of Justice
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  Page 8

  The agency should therefore be required to articulate specific and precise reasons why
  Exemption 3 precludes both full and partial disclosure of each document or category of
  documents.
                                             Conclusion
          For the foregoing reasons, the OJP’s response to my October 10, 2019, FOIA request is
  inadequate. The agency improperly applied Exemption 3; failed to undertake reasonable efforts
  to segregate non-exempt material from responsive records; and failed to meet its burden under
  the “foreseeable harm” standard. Therefore, I respectfully request that OJP re-process the
  responsive records and disclose all non-exempt material contained in responsive records.
         Thank you for your attention to this matter. If you have any questions about this appeal or
  the underlying request, you may contact me by telephone at (917)-794-4583 or by email at
  ethan.corey@theappeal.org.


  Sincerely,
  Ethan Corey
  P.O. Box 652
  Saranac Lake, NY 12983
  (917)-794-4583
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 19 of 56 Page ID #:29




          EXHIBIT E
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 20 of 56 Page ID #:30
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 21 of 56 Page ID #:31




          EXHIBIT F
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 22 of 56 Page ID #:32
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 23 of 56 Page ID #:33
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 24 of 56 Page ID #:34




         EXHIBIT G
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 25 of 56 Page ID #:35




  July 27, 2020


  VIA ELECTORNIC MAIL
  Monica Potter-Johnson
  Office of Justice Programs
  Office of the General Counsel
  Attention: FOIA Staff
  810 7th Street, NW
  Room 5400
  Washington, DC 20531
          Re:      Freedom of Information Act Request
  Dear Ms. Potter-Johnson:
          I am a senior researcher for the Appeal, a nonprofit news organization that covers the
  impact of policy, politics, and the legal system on vulnerable communities.1 The Appeal is an
  editorially independent project of the Justice Collaborative, a nonprofit group dedicated to
  providing deep legal, policy, communications, and networking support to organizations
  committed to building a society with justice and dignity for all.2 As part of the Appeal’s mission,
  we seek to help the public better understand the scope and impact of deaths that occur in the
  custody of law enforcement and correctional agencies in the United States. To that end, we are
  seeking comprehensive information about the scope and nature of deaths in custody.
         Pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, the Appeal (“the
  Requestor”) hereby requests access to the following records for the time period from October 1,
  2019, to the date on which this request is fulfilled, inclusive:
      1. All DCR-1 quarterly summary forms submitted by federal, state, and local agencies to the
         Office of Justice Programs (“OJP”), the Bureau of Justice Assistance (“BJA”), or any of
         its contractors or agents.3
      2. All DCR-1A incident reports submitted by federal, state, and local agencies to OJP, BJA,
         or any of its contractors or agents.4
      3. All Edward Byrne Memorial Justice Assistance Grant (“JAG”) Performance
         Management Tool reports submitted by state and local agencies using the online portal




  1
    The Appeal, “About The Appeal,” accessed July 27, 2020, available at https://theappeal.org/about/.
  2
    The Justice Collaborative, “About The Justice Collaborative,” accessed July 27, 2020, available at
  https://thejusticecollaborative.com/about/.
  3
    Form DCR-1, “Quarterly Summary,” OMB No. 1121-NEW.
  4
    Form DCR-1A, “Incident Report,” OMB No. 1121-0365.
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 26 of 56 Page ID #:36

  Corey FOIA Request: Page 2 of 4


          located at https://bjapmt.ojp.gov/ that include reporting pursuant to the Death in Custody
          Act of 2013.5
  Request for fee waiver
          Pursuant to 5 U.S.C. § 552(a)(4)(A), I request a waiver of any fees associated with this
  request. As noted above, the Appeal is a nonprofit news organization that covers the criminal-
  justice system. This request is made as part of the Appeal’s newsgathering process. Any records
  obtained as part of this request will be made available to the public. Disclosure of this
  information is in the public interest, as it will help the public better understanding the nature and
  frequency of in-custody deaths, a topic of particular interest in the wake of protests triggered by
  high-profile deaths in police custody.
  Request for expedited processing
          Due to the urgent need for more information about in-custody deaths amidst a national
  conversation around deaths in police custody, I request expedited processing under 5 U.S.C. §
  552(a)(6)(E). The Appeal’s primary mission is the dissemination of information related to the
  criminal-justice system, and any delays in fulfilling this request will reduce the impact of the
  requested information on public debate. State and local governments are already debating laws
  regarding the use of force by law enforcement officers, and the U.S. Congress is considering
  legislation that would expand the scope of data collected by the Department of Justice regarding
  police use of force.6 Timely information about the data the Department of Justice already
  possesses serves an urgent public interest in better understanding deaths in custody.
  Requested records not exempt from disclosure under 34 U.S.C. §§ 10134 or 10231
         In recent statements to the press, representatives of OJP have indicated that the agency
  believes data submitted pursuant to DCRA is subject to “BJS data protection guidelines,” which
  presumably refers to BJS regulations designed to comply with 34 U.S.C. §§ 10134 or 10231, as
  no other federal statute can reasonably be construed as prohibiting the disclosure of data
  submitted pursuant to DCRA.7



  5
    In the Fiscal Year 2020 State Formula Solicitation for the JAG program, BJA notes, “BJA requires reporting from
  states pursuant to DCRA, which requires states and federal law enforcement agencies to report certain information
  to the Attorney General regarding the death of any person occurring during interactions with law enforcement
  officers or while in custody. All reporting for DCRA will be submitted via the BJA Performance Management Tool
  (PMT), located at https://bjapmt.ojp.gov.” Bureau of Justice Assistance, Edward Byrne Memorial Justice Assistance
  Grant (JAG) Program Fiscal Year 2020 State Formula Solicitation, March 12, 2020, available at
  https://www.bja.ojp.gov/sites/g/files/xyckuh186/files/media/document/bja-2020-17277.pdf.
  6
    H.R. 7120 – George Floyd Justice in Policing Act of 2020, introduced June 8, 2020, available at
  https://www.congress.gov/bill/116th-congress/house-bill/7120.
  7
    In fact, as recently as 2016, the Department of Justice had indicated it intended to make DCRA data available to
  the public. See Department of Justice, “Report of the Attorney General to Congress Pursuant to The Death in
  Custody Reporting Act,” December 16, 2016, available at
  https://www.justice.gov/archives/page/file/918846/download. “The Department will publicly release data collected
  pursuant to the DCRA, including the State plans, the number of deaths reported for each agency and facility, and
  data on the circumstances surrounding those deaths.”
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  Corey FOIA Request: Page 3 of 4


          Sections 10134 and 10231, however, do not apply to data collected by the Bureau of
  Justice Assistance. The relevant language in the statutes refers to data “collected by the Bureau
  [of Justice Statistics]” (Section 10134) and research or statistical information furnished under
  [Chapter 101 of Title 34]” (Section 10231). Because DCRA data is collected by the Bureau of
  Justice Assistance, Section 10134 cannot prohibit its release. Because DCRA data is furnished
  under Chapter 601 of Title 34, not Chapter 101, neither does Section 10231 prohibit its release.
  Additionally, Section 10231 applies only to research or statistical information “identifiable to
  any specific private person.” Under 34 U.S.C. § 10251(a)(27), “private person” means “any
  individual (including an individual acting in his official capacity) and any private partnership,
  corporation, association, organization, or entity (or any combination thereof).” Because this
  definition does not include prisons, jails, or law enforcement agencies, Section 10231 cannot be
  construed as prohibiting the release of information about such agencies.8
          Moreover, even if one argues that DCRA data may be identifiable to individuals who die
  in the custody of prisons, jails, or law enforcement agencies (e.g., if an agency reports only a
  small number of deaths in a quarter), courts have held that protections under the Privacy Act and
  similar statutes typically do not protect information pertaining to deceased individuals.9
             Finally, the legislative history of the Death in Custody Reporting Act clearly indicates
  that the data collected pursuant to the law was intended to be released to the public. In remarks
  supporting passage of the bill, Vermont Senator Patrick Leahy said the legislation would provide
  “important transparency to law enforcement efforts and our prison system” and further stated,
  “The Justice Department should have an opportunity to analyze the data and see what we can
  learn from it. And the American people deserve the same.”10 During debate over an identical bill
  in 2008, Representative Sheila Jackson-Lee of Texas said, “The Death in Custody Reporting Act
  is a critical oversight tool which allows State and local corrections officials and advocates to
  monitor in-custody suicides, homicides, drug and alcohol overdoses and other critical issues,”
  making it clear that dissemination of data collected under the law beyond the federal government
  was an integral part of the legislative intent behind the Death in Custody Reporting Act.11 Non-
  disclosure of mortality data collected under the law would frustrate the clearly stated legislative
  intent behind the statute.


  Request for access to all reasonably segregable, non-exempt portions of responsive records.



  8
    While little case law exists on the precise scope of Section 10231, the Seventh Circuit has held that Section
  10231(a) creates “a right to be free from unwarranted disclosure of statistical information.” Polchowski v. Gorris,
  714 F.2d 749 (1983). The court did not address the issue of whether this right extends to statistical information about
  deceased individuals, but courts have consistently held that privacy rights cease upon an individual’s death. See,
  e.g., Monk v. Teeter, 951 F.2d 361, 1992 WL 1681, at *2 (9th Cir.1992) (mem.) (“The right to privacy does not
  survive one’s death.”), quoted in Warren v. Colvin, 744 F.3d 841 (2014)
  9
    Pavesieh v. New England Life Ins. Co., 122 Ga. 190, 50 S.E. 68
  10
     See 160 Cong. Rec. S6341 (daily ed. Dec. 4, 2014) (statement of Sen. Patrick Leahy), available at
  https://www.congress.gov/congressional-record/2014/12/04/senate-section/article/S6341-2.
  11
     See 154 Cong. Rec. E2245 (daily ed. Oct. 3, 2008) (statement of Hon. Sheila Jackson-Lee), available at
  https://www.congress.gov/congressional-record/2008/10/03/extensions-of-remarks-section/article/E2245-1.
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  Corey FOIA Request: Page 4 of 4


         Requestor anticipates that some records responsive to this request may contain
  information exempt from disclosure under FOIA. Under the OPEN Government Act of 2007,
  agencies must provide any reasonably segregable, non-exempt information contained in
  documents that are responsive to FOIA requests.12 Requestor therefore respectfully access to all
  reasonably segregable, non-exempt information contained in any responsive documents subject
  to withholding under FOIA.
          Even in cases where full disclosure of a document or category of documents is
  specifically prohibited by law, courts have held that agencies must nonetheless release all
  reasonably segregable portions of documents that contain non-exempt information. For instance,
  in Neufeld v. Internal Revenue Service, the U.S. Circuit Court of Appeals for the District of
  Columbia held that statutes specifically prohibiting the disclosure of tax return information
  satisfied the requirements of FOIA Exemption 3; nonetheless the court ruled that “only if exempt
  and nonexempt information are ‘inextricably intertwined’ . . . may the court allow an entire
  document to be withheld pursuant to a FOIA exemption.”13 In the case of personally identifiable
  information, simple redaction of names, social security numbers, and contact information is
  generally sufficient to render the remainder of the document disclosable under FOIA.14
  Conclusion
         For the foregoing reasons, the Requestor is entitled to the records requested above.
  Should you have any questions about this request, you may email me at
  ethan.corey@theappeal.org or call at (917) 794-4583. Thank you for your diligent attention to
  this matter.


  Sincerely,
  Ethan Corey
  P.O. Box 652
  Saranac Lake, NY 12983




  12
     OPEN Government Act of 2007, Pub. L. No. 110–175, Section 12.
  13
     Neufeld v. Internal Revenue Service, 646 F.2d 661, 665–666 (D.C. Cir. 1981).
  14
     Id. at 665.
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 29 of 56 Page ID #:39




         EXHIBIT H
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 30 of 56 Page ID #:40
                                    U.S. Department of Justice

                                               Office of Justice Programs

                                      Office of the General Counsel
    _________________________________________________________________________

                                               Washington, D.C. 20531

                                               July 28, 2020


  VIA Electronic Mail
  ethan.corey@theappeal.org

  Ethan Corey
  Senior Fact Checker & Researcher
  TheAppeal.org
  P.O. Box 652
  Saranac Lake, NY 12983

  Re: OJP FOIA No. 20-FOIA-00234

  Dear Mr. Corey:

  This is to acknowledge receipt of your July 27, 2020, Freedom of Information Act/Privacy Act
  (FOIA/PA) request, which was received in the Office of Justice Programs (OJP), Office of the
  General Counsel, on the same date. A copy of your request is attached for your convenience.

  The records you seek require a search in another OJP office and so your request falls within
  "unusual circumstances." See 5 U.S.C. § 552(a)(6)(B)(i)-(iii) (2018). Because of these unusual
  circumstances, we are extending the time limit to respond to your request beyond the ten
  additional days provided by the statute. We have not yet completed a search to determine
  whether there are records within the scope of your request. The time needed to process your
  request will necessarily depend on the complexity of our records search and on the volume and
  complexity of any records located. For your information, this office assigns incoming requests to
  one of three tracks: simple, complex, or expedited. Each request is then handled on a first-in,
  first-out basis in relation to other requests in the same track. Simple requests usually receive a
  response in approximately one month, whereas complex requests necessarily take longer. At this
  time, your request has been assigned to the expedited track. You may wish to narrow the scope
  of your request to limit the number of potentially responsive records or agree to an alternative
  time frame for processing, should records be located; or you may wish to await the completion of
  our records search to discuss either of these options.

  Your request for expedited processing has been granted. We will process your request
  accordingly. We have not yet made a decision on your request for a fee waiver. We will do so
  after we determine whether the processing of your request will result in any assessable fees.
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 31 of 56 Page ID #:41



  Page 2 of 2

  Your request is assigned to a member of our FOIA staff for processing. If you have any
  questions or wish to discuss reformulation or an alternative time frame for the processing of your
  request, you may contact the Office of the General Counsel at (202) 307-6235, via e-mail at
  FOIAOJP@usdoj.gov, or you may write to this office at:

                                US DOJ, Office of Justice Programs
                                Office of the General Counsel
                                810 7th Street, NW, Room 5400
                                Washington, D.C. 20531
                                Attn: FOIA

  Due to the COVID-19 pandemic, OJP’s FOIA Office has adjusted its normal operations to
  balance the need of completing its mission as effectively and efficiently as possible while also
  adhering to the recommended social distancing for the safety of our staff. As a result, you may
  experience a delay in receiving an initial acknowledgment as well as a substantive response to
  your FOIA request. We will be able to acknowledge requests made electronically more quickly
  than by mail. You may reach out to our FOIA Requester Service Center and FOIA Public
  Liaison at the telephone number above to discuss any aspect of your request. Please include the
  above-referenced OJP FOIA number. We apologize for this inconvenience and appreciate your
  understanding and patience.


  Thank you,


  FOIAOJP
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 32 of 56 Page ID #:42




           EXHIBIT I
        Case
7/6/22, 5:16 PM   5:22-cv-02111-JFW-AFM Document       1-1
                                         The Appeal, Inc. Mail -Filed  11/28/22
                                                                Status of FOIA RequestPage  33 of 56 Page ID #:43
                                                                                      20-FOIA-00234



                                                                                   Ethan Corey <ethan.corey@theappeal.org>



  Status of FOIA Request 20-FOIA-00234
  1 message

  Office of the General Counsel <FOIAOJP@usdoj.gov>                                                Mon, May 24, 2021 at 4:28 PM
  To: ethan.corey@theappeal.org


    Dear Mr. Corey:

    I received notification of your 5/21/21 inquiry regarding the status of the above referenced FOIA request. I am a newly
    hired FOIA Analyst assigned to the FOIA Backlog Team to assist with the reduction and processing of backlogged FOIA
    requests within the Office of the General Counsel, Office of Justice Programs (OJP). Because your request seeks
    "records for the time period from October 1, 2019, to the date on which this request is fulfilled" I have resubmitted your
    request to the program office to provide updated data through the date on which they fulfill your request. As soon as OJP
    receives the requested records, your request will be processed and submitted as soon thereafter as possible. To keep
    you informed, I will let you know when OJP receives the documents for processing, and again when your request has
    been signed for closure (final letter to you and documents, if any, that are released via FOIAXpress FOIA OJP email).

    Sincerely,

    h'Enri Whitseyjohnson, FOIA Analyst (Contractor)




https://mail.google.com/mail/u/0/?ik=e73e4db662&view=pt&search=all&permthid=thread-a%3Amul-YWYk-QAKKq8K4GTOSQM58g&simpl=msg-a%3…   1/1
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 34 of 56 Page ID #:44




           EXHIBIT J
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 35 of 56 Page ID #:45




  February 5, 2021


  VIA ELECTORNIC MAIL
  Monica Potter-Johnson
  Office of Justice Programs
  Office of the General Counsel
  Attention: FOIA Staff
  810 7th Street, NW
  Room 5400
  Washington, DC 20531
             Re:      Freedom of Information Act Request
  Dear FOIA Officer:
          I am a senior researcher for Appeal Media, a nonprofit news organization that covers the
  criminal-justice system.1 As part of Appeal Media’s mission, we seek to help the public better
  understand the scope and impact of deaths that occur in the custody of law enforcement and
  correctional agencies in the United States. To that end, we are seeking comprehensive
  information about the scope and nature of deaths in custody.
         Pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, Appeal Media
  (“the Requestor”) hereby requests access to the following record:
         1. All Death in Custody Reporting Act (DCRA) reports submitted by federal law
            enforcement agencies (including the Bureau of Prisons) from FY2016 until FY2020.
  Request for fee waiver
          Pursuant to 5 U.S.C. § 552(a)(4)(A), I request a waiver of any fees associated with this
  request. As noted above, the Appeal is a nonprofit news organization that covers the criminal-
  justice system. This request is made as part of the Appeal’s newsgathering process. Any records
  obtained as part of this request will be made available to the public. Disclosure of this
  information is in the public interest, as it will help the public better understanding the nature and
  frequency of in-custody deaths, a topic of particular interest in the wake of protests triggered by
  high-profile deaths in police custody.
  Request for expedited processing
          Due to the urgent need for more information about in-custody deaths amidst a pandemic
  that has disproportionately impacted incarcerated people, I request expedited processing under 5
  U.S.C. § 552(a)(6)(E). The Requestor’s primary mission is the dissemination of information
  related to the criminal-justice system, and any delays in fulfilling this request will reduce the

  1
      https://theappeal.org/about/
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 36 of 56 Page ID #:46

  Corey FOIA Request: Page 2 of 4


  impact of the requested information on public debate. State and local governments are already
  debating laws regarding the use of force by law enforcement officers, and the U.S. Congress is
  considering legislation that would expand the scope of data collected by the Department of
  Justice regarding police use of force.2 Timely information about the data the Department of
  Justice already possesses serves an urgent public interest in better understanding deaths in
  custody.
          Additionally, this FOIA request is substantively similar to one already processed by the
  Office of Justice Programs last year.3 Government Information Specialist Chaun Eason issued a
  final determination in writing on September 29, 2020, denying the request in full. The Requestor
  did not file an appeal by the statutory deadline of December 29, 2020, and respectfully requests
  an expedited decision in order to facilitate full consideration of the merits of the request by the
  Office of Information Policy.
  Request for access to all reasonably segregable, non-exempt portions of responsive records.
         Requestor anticipates that some records responsive to this request may contain
  information exempt from disclosure under FOIA. Under the OPEN Government Act of 2007,
  agencies must provide any reasonably segregable, non-exempt information contained in
  documents that are responsive to FOIA requests.4 Requestor therefore respectfully access to all
  reasonably segregable, non-exempt information contained in any responsive documents subject
  to withholding under FOIA.
          Even in cases where full disclosure of a document or category of documents is
  specifically prohibited by law, courts have held that agencies must nonetheless release all
  reasonably segregable portions of documents that contain non-exempt information. For instance,
  in Neufeld v. Internal Revenue Service, the U.S. Circuit Court of Appeals for the District of
  Columbia held that statutes specifically prohibiting the disclosure of tax return information
  satisfied the requirements of FOIA Exemption 3; nonetheless the court ruled that “only if exempt
  and nonexempt information are ‘inextricably intertwined’ . . . may the court allow an entire
  document to be withheld pursuant to a FOIA exemption.”5 In the case of personally identifiable
  information, simple redaction of names, social security numbers, and contact information is
  generally sufficient to render the remainder of the document disclosable under FOIA.6
  Conclusion
         For the foregoing reasons, the Requestor is entitled to the records requested above.
  Should you have any questions about this request, you may email me at
  ethan.corey@theappeal.org or call at (917) 794-4583. Thank you for your diligent attention to
  this matter.


  2
    H.R. 7120 – George Floyd Justice in Policing Act of 2020, introduced June 8, 2020, available at
  https://www.congress.gov/bill/116th-congress/house-bill/7120.
  3
    DOJ-OJP Request # 20-FOIA-00032.
  4
    OPEN Government Act of 2007, Pub. L. No. 110–175, Section 12.
  5
    Neufeld v. Internal Revenue Service, 646 F.2d 661, 665–666 (D.C. Cir. 1981).
  6
    Id. at 665.
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 37 of 56 Page ID #:47

  Corey FOIA Request: Page 3 of 4


  Sincerely,
  Ethan Corey
  600 Hibben Magie Rd, Unit 201
  Princeton, NJ 08540
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         EXHIBIT K
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 39 of 56 Page ID #:49
                                    U.S. Department of Justice

                                               Office of Justice Programs

                                      Office of the General Counsel
    _________________________________________________________________________

                                               Washington, D.C. 20531

                                               February 9, 2021


  VIA Electronic Mail
  Ethan.Corey@theappeal.org

  Ethan Corey
  Senior Fact Checker & Researcher
  THE APPEAL
  600 Hibben Magie Rd. Unit 201
  Princeton, NJ 08540

  Re:    OJP FOIA No. 21-FOIA-00114

  Dear Mr. Corey:

  This is to acknowledge receipt of your February 5, 2021, Freedom of Information Act/Privacy
  Act (FOIA/PA) request, which was received in the Office of Justice Programs (OJP), Office of
  the General Counsel, on February 8, 2021. A copy of your request is attached for your
  convenience.

  The records you seek require a search in another OJP office and so your request falls within
  "unusual circumstances." See 5 U.S.C. § 552(a)(6)(B)(i)-(iii) (2018). Because of these unusual
  circumstances, we are extending the time limit to respond to your request beyond the ten
  additional days provided by the statute. We have not yet completed a search to determine
  whether there are records within the scope of your request. The time needed to process your
  request will necessarily depend on the complexity of our records search and on the volume and
  complexity of any records located. For your information, this office assigns incoming requests to
  one of three tracks: simple, complex, or expedited. Each request is then handled on a first-in,
  first-out basis in relation to other requests in the same track. Simple requests usually receive a
  response in approximately one month, whereas complex requests necessarily take longer. At this
  time, your request has been assigned to the expedited track. You may wish to narrow the scope
  of your request to limit the number of potentially responsive records or agree to an alternative
  time frame for processing, should records be located; or you may wish to await the completion of
  our records search to discuss either of these options.

  We have not yet made a determination on your request for a fee waiver. We will do so after we
  determine whether the processing of your request will result in any assessable fees.

  Please be advised that your request for expedited processing has been granted. The request has
  been assigned to a Government Information Specialist in this Office for processing and a records
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  search has been initiated in the appropriate office. If you have any questions or wish to discuss
  reformulation of your request, you may contact the Office of the General Counsel at (202) 307-
  6235, via email at FOIAOJP@usdoj.gov, or you may write to this office at:


                                US DOJ, Office of Justice Programs
                                Office of the General Counsel
                                810 7th Street, NW, Room 5400
                                Washington, D.C. 20531
                                Attn: FOIA

  Due to the COVID-19 pandemic, OJP’s FOIA Office has adjusted its normal operations to
  balance the need of completing its mission as effectively and efficiently as possible while also
  adhering to the recommended social distancing for the safety of our staff. As a result, you may
  experience a delay in receiving an initial acknowledgment as well as a substantive response to
  your FOIA request. We will be able to acknowledge requests made electronically more quickly
  than by mail. You may reach out to our FOIA Requester Service Center and FOIA Public
  Liaison at the telephone number above to discuss any aspect of your request. Please include the
  above-referenced OJP FOIA number. We apologize for this inconvenience and appreciate your
  understanding and patience.


  Thank you,


  FOIAOJP
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          EXHIBIT L
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 42 of 56 Page ID #:52
                                         U.S. Department of Justice

                                                      Office of Justice Programs

                                            Office of the General Counsel
    _________________________________________________________________________
                                                      Washington, D.C. 20531


                                                      February 24, 2021

  VIA Electronic Mail
  Ethan.Corey@theappeal.org

  Ethan Corey
  Senior Fact Checker & Researcher
  THE APPEAL
  600 Hibben Magie Road, Unit 201
  Princeton, NJ 08540

  Re: OJP FOIA No. 21-FOIA-00114

  Dear Mr. Corey:

  This letter responds to your February 5, 2021, Freedom of Information Act/Privacy Act
  (FOIA/PA) request, which was received in the Office of Justice Programs (OJP), Office of the
  General Counsel, on February 8, 2021. A copy of your request is attached for your convenience.

  Please be advised that a search has been conducted in OJP, and 1,674 records, consisting of
  3,348 pages, were located that are responsive to your request. After carefully reviewing the
  records, I have determined that 3,348 pages are exempt from disclosure pursuant to exemption
  (b)(3) of the Freedom of Information Act, 5 U.S.C. § 552 (2018). Exemption (b)(3) authorizes
  an agency to withhold information prohibited from disclosure by another statute. This provision
  concerns matters specifically exempted from release by statute (in this instance, 34 U.S.C.
  §10231, which pertains to research or statistical information collected by the Bureau of Justice
  Statistics and must remain confidential). This completes the processing of your request by OJP.

  You may contact a member of our FOIA Staff at (202) 307-6235, via e-mail at
  FOIAOJP@usdoj.gov, as well as, our FOIA Public Liaison, for any further assistance and to
  discuss any aspect of your request at:

                                       US DOJ, Office of Justice Programs
                                       Office of the General Counsel
                                       810 7th Street, NW, Room 5400
                                       Washington, D.C. 20531
                                       Attn: FOIA

  Additionally, you may contact the Office of Government Information Services (OGIS) at the
  National Archives and Records Administration to inquire about the FOIA mediation services
  they offer. The contact information for OGIS is as follows: Office of Government Information
  Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College
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  Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-
  877-684-6448; or facsimile at 202-741-5769.

  If you are not satisfied with OJP’s determination in response to this request, you may
  administratively appeal by writing to the Director, Office of Information Policy (OIP), United
  States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may
  submit an appeal through OIP’s FOIA STAR portal by creating an account following the
  instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-request-or-appeal.
  Your appeal must be postmarked or electronically transmitted within 90 calendar days of the date
  of my response to your request. If you submit your appeal by mail, both the letter and the
  envelope should be clearly marked “Freedom of Information Act Appeal.”

  Sincerely,

  Chaun Eason

  Chaun Eason
  Government Information Specialist

  Attachment
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 44 of 56 Page ID #:54




        EXHIBIT M
Case 5:22-cv-02111-JFW-AFM Document 1-1 Filed 11/28/22 Page 45 of 56 Page ID #:55

                                                                          United States Department of Justice
                                                                                               May 8, 2021
                                                                 Appeal: DOJ-OJP Request # 21-FOIA-00114
                                                                                                 Page 1 of 9

  Director, Office of Information Policy (OIP)
  United States Department of Justice
  441 G Street, NW, 6th Floor
  Washington, D.C. 20530

  Dear FOIA Appeals Officer:

           This is a timely administrative appeal of the adverse determination of the United States
  Department of Justice’s Office of Justice Programs (“OJP”) on my February 5, 2021, Freedom of
  Information Act (“FOIA”) request, No. 21-FOIA-00114. Specifically, I appeal the agency’s use
  of Exemption 3; its failure to segregate non-exempt material from responsive records; and its
  failure to meet its burden under FOIA’s “foreseeable harm” standard.
                                                Procedural History

          On February 5, 2021, I submitted a FOIA request to the OJP’s Office of the General
  Counsel, seeking access to “[a]ll Death in Custody Reporting Act (DCRA) reports submitted by
  federal law enforcement agencies (including the Bureau of Prisons) from FY2016 until
  FY2020.”1 I requested a fee waiver as a representative of the news media.2
          By letter, dated February 24, 2021, OJP’s Office of the General Counsel provided its
  final determination, indicating that it had located 3,348 pages of records responsive to my FOIA
  request.3 The letter stated that all 3,348 pages of the records were exempt from disclosure
  pursuant to exemption (b)(3) of the Freedom of Information Act, 5 U.S.C. § 552 (2018), which
  allows for the withholding of information specifically exempted from release by another statute.4
  This timely appeal follows the adverse determination regarding my request by the OJP Office of
  the General Counsel.


                                                      Argument
      I.       Exemption 3 does not allow the withholding of the records at issue.
         Exemption 3 permits agencies to withhold matters that are “specifically exempted from
  disclosure by [a] statute” other than FOIA itself. See 5 U.S.C. § 552(b)(3). To qualify, the statute
  must either




  1
    Letter from Ethan Corey to OJP Office of the General Counsel, February 5, 2021, at 1 (attached as Exhibit 1).
  2
    Id. at 1. I am a senior fact checker and researcher for The Appeal, a national, non-profit news agency that covers
  the criminal-legal system. See https://theappeal.org/about/.
  3
    Letter from Chaun Eason, OJP Office of the General Counsel, February 24, 2021, at 1 (attached as Exhibit 2).
  4
    Id.
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                                                                       United States Department of Justice
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          (A)(i) require[] that the matters be withheld from the public in such a manner as to leave
          no discretion on the issue; or
                   (ii) establish[] particular criteria for withholding or refers to particular types of
                   matters to be withheld; and
          (B) if enacted after the date of enactment of the OPEN FOIA Act of 2009, specifically
          cite[] to this paragraph.
  When an agency relies on a statute to deny a FOIA request under Exemption 3, it must first
  determine (1) whether the statute meets Exemption 3’s requirements, and (2) whether the
  information that was withheld falls within the statute’s coverage.5
          In this case, the agency cites 34 U.S.C. §§ 10134 and 10231, which state in full,
  respectively:
          Data collected by the Bureau [of Justice Statistics] shall be used only for statistical or
          research purposes, and shall be gathered in a manner that precludes their use for law
          enforcement or any purpose relating to a private person or public agency other than
          statistical or research purposes.6
  And:
          No officer or employee of the Federal Government, and no recipient of assistance under
          the provisions of this chapter shall use or reveal any research or statistical information
          furnished under this chapter by any person and identifiable to any specific private person
          for any purpose other than the purpose for which it was obtained in accordance with this
          chapter. Such information and copies thereof shall be immune from legal process, and
          shall not, without the consent of the person furnishing such information, be admitted as
          evidence or used for any purpose in any action, suit, or other judicial, legislative, or
          administrative proceedings.7
  Neither 34 U.S.C. § 10134 (“Section 10134”) nor 34 U.S.C. § 10231 (“Section 10231”) justify
  the OJP’s decision to withhold in-custody death reports submitted by federal law enforcement
  agencies pursuant to the DCRA. First, Sections 10134 and 10231 do not cover materials
  furnished to the Attorney General under the DCRA. Second, withholding in-custody death
  reports from release would contradict the clearly expressed legislative intent behind the DCRA.


      A. Sections 10134 and 10231 do not apply to the records at issue.


  5
    Newport Aeronautical Sales v. Department of the Air Force, 684 F.3d 160, 165 (D.C.Cir.2012); Cal-Almond, Inc.
  v. U.S. Department of Agriculture, 960 F.2d 105, 108 (9th Cir.1992).
  6
    34 U.S.C. § 10134.
  7
    34 U.S.C. § 10231.
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          As noted above, denying a FOIA request pursuant to Exemption 3 requires a two-pronged
  analysis, in which the agency must first demonstrate that “the statute identified by the agency is a
  statute of exemption within the meaning of Exemption 3,” and then it must show that “the
  withheld records satisfy the criteria of the exemption statute.”8 In this appeal, I do not dispute
  that Sections 10134 and 10231 meet the first prong of this test. 9 Nevertheless, the records at
  issue in this request do not satisfy the criteria of Sections 10134 and 10231; thus, the second
  prong of the test is not met.


          i.       Section 10134
           The criteria for exemption established by Section 10134 are unambiguous: “Data
  collected by the [BJS] shall be used only for statistical or research purposes.” Data collected by
  any other agency, therefore, is not encompassed by the criteria for withholding established by
  Section 10134. This has the virtue of making the analysis here quite simple: The Death in
  Custody Reporting Act does not require the BJS to collect any data whatsoever. To the contrary,
  it states that “the head of each Federal law enforcement agency shall submit to the Attorney
  General a report (in such form and manner specified by the Attorney General) that contains
  information regarding the death of any person” who dies in the agency’s custody.
          In other words, the DCRA requires “the head of each Federal law enforcement agency”
  to collect data on deaths in that agency’s custody, which the head of the agency then submits to
  the Attorney General. BJS’s involvement in this process is entirely incidental and it flows
  directly from the discretionary authority granted by the DCRA to the Attorney General to
  determine the “form and manner” in which the heads of federal law enforcement agencies will
  report in-custody deaths.
         Collection of DCRA reports from federal law enforcement agencies began in October
  2016, pursuant to a memorandum written by then-Attorney General Loretta Lynch, which
  charged the BJS with creating two online survey instruments to receive each federal law
  enforcement agency’s required reports (one for arrest-related deaths and one for deaths occurring
  while a person is detained or incarcerated in federal custody) and required federal law
  enforcement agencies to submit their reports through one or both of the two survey
  instruments.10



  8
    Center for Investigative Reporting v. Department of Justice, No. 18-17356 (9th Cir. Dec. 3, 2020).
  9
    The two most apposite cases here are Seymour v. Barabba, 559 F.2d 806 (D.C. Cir. 1977) and Baldrige v. Shapiro,
  455 U.S. 345, 102 S.Ct. 1103, 71 L.Ed.2d 199 (1982), which determined that statutes prohibiting the disclosure of
  “statistical or research information” by the Census Bureau qualified for withholding under Exemption 3.
  10
     See U.S. Department of Justice Office of the Inspector General, “Review of the Department of Justice's
  Implementation of the Death in Custody Reporting Act of 2013,” 19-01, December 18, 2018, at 28–30, available at
  https://www.oversight.gov/sites/default/files/oig-reports/e1901.pdf.
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         The memorandum makes it clear that the decision to direct federal law enforcement
  agencies to report in-custody deaths to the BJS is a discretionary act by the Attorney General,
  noting “this memorandum specifies this form and manner in which each federal law enforcement
  agency shall report the required information to the Attorney General.”11 At no point does it state
  or suggest that the law requires the BJS to be involved in the implementation of the DCRA.
          The DCRA’s grant of carte blanche discretionary authority to the Attorney General over
  the “form and manner” in which in-custody deaths are reported is in sharp contrast to related
  statutes, such as the Prison Rape Elimination Act, which both specifically delegate data
  collection responsibility to the BJS and provide explicit confidentiality protections to ensure that
  data submitted pursuant to PREA is not improperly disclosed.12 No such provisions exist in the
  language of the DCRA.
          If BJS’s mere involvement in receiving reports from federal law enforcement agencies
  were sufficient to bring the records under the scope of Section 10134, FOIA’s presumption of
  disclosure would be completely vitiated. Congress amended Exemption 3 in 1976 with the
  explicit goal of “narrow[ing] the scope of the prior-existing exemption by excluding those
  broadranging statutes that give an agency cart blanche [sic] to withhold any information [it]
  pleases.”13 The “unmistakable thrust” of the modern Exemption 3, as modified by both the 1976
  amendment and the 2009 OPEN FOIA Act, is “to assure that basic policy decisions on
  governmental secrecy be made by the Legislative rather than the Executive branch.”14
          Unless the statute authorizing a data collection explicitly delegates data collection
  responsibilities to the BJS or otherwise indicates the data ought to be governed by the BJS’s data
  protection guidelines, the Attorney General’s decision to delegate data collection authority
  cannot serve as a backdoor means for exempting the data collected from disclosure under the
  FOIA. To hold otherwise would allow the Department of Justice to withhold any records it
  chooses merely by furnishing them to the Bureau of Justice Statistics, undermining the
  transparency and accountability interests that the FOIA exists to protect.


           ii.      Section 10231
         Like Section 10134, Section 10231 contains clear, simple criteria for withholding records
  from release: “No officer or employee of the Federal Government, and no recipient of assistance


  11
     Id. at 28.
  12
     Pub. L. 108-79, § 4(a). “The Bureau of Justice Statistics of the Department of Justice…shall carry out, for each
  calendar year, a comprehensive statistical review and analysis of the incidence and effects of prison rape…. [T]he
  Bureau shall, in addition to such other methods as the Bureau considers appropriate, use surveys and other statistical
  studies of current and former inmates from a sample of Federal, State, county, and municipal prisons. The Bureau
  shall ensure the confidentiality of each survey participant.”
  13
     CNA Financial Corp. v. Donovan, 830 F.2d 1132, 1137-38 (D.C. Cir. 1987).
  14
     Id.
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  under the provisions of this chapter shall use or reveal any research or statistical information
  furnished under this chapter by any person and identifiable to any specific private person for any
  purpose other than the purpose for which it was obtained in accordance with this chapter.” In
  other words, for a record to be covered by Section 10231, it must a) be “research or statistical
  information,” b) be “furnished under [34 U.S.C. Chapter 101: Justice System Improvement],” c)
  be “identifiable to any specific private person,” and d) its release must be for “purpose[s] other
  than the purpose for which it was obtained.” If any one of those criteria does not apply, Section
  10231 cannot justify withholding a record from release under Exemption 3.
          The second criterion offers the clearest litmus test in this instance. Section 10231 does
  not cover any records furnished under any statutory authority except 34 U.S.C. Chapter 101. The
  DCRA’s requirement that federal law enforcement agencies report in-custody deaths to the
  Attorney General is not part of that chapter; rather, it falls under 18 U.S.C. Chapter 301: General
  Provisions. Thus, any data collected pursuant to the Death in Custody Reporting Act is not
  “furnished under” 34 U.S.C. Chapter 101, meaning Section 10231 has no relevance whatsoever
  to the records at issue.
           Furthermore, even assuming arguendo that Section 10231 covers all research or
  statistical information provided to the BJS, regardless of the legal authority for collecting such
  information, DCRA reports would still be subject to disclosure under FOIA. As noted above, the
  DCRA leaves the “form and manner” by which DCRA reports are collected to the Attorney
  General’s discretion. Because Section 10231 would not apply to federal law enforcement
  agencies’ DCRA reports but for the Attorney General’s decision to delegate data collection to the
  BJS, it cannot grant protection from withholding under Exemption 3.
           Additionally, the third criterion is similarly inapplicable in this case. The DCRA reports
  contain information about the deaths of persons in the custody of federal law enforcement
  agencies. Courts have consistently ruled that upon death, a person no longer possesses privacy
  rights.15 As such, the privacy rights that Section 10231 exists to protect are not implicated in this
  case. This is a sharp contrast to cases like Seymour v. Barabba and Baldrige v. Shapiro, which
  both emphasize that confidentiality provisions limiting the release of data collected by federal
  statistical agencies exist in order to protect the privacy rights of individuals who provide the
  federal government with their personal information.16


  15
    See Diamond v. FBI, 532 F. Supp. 216, 227 (S D.N.Y. 1981).
  16
    “The concern of Congress with the confidentiality of census data had been manifested some years earlier. After
  the Supreme Court in St. Regis Paper Company v. United States held that census information was not immunized
  from legal process directed to copies of the census report retained by private businesses, quickly responding to the
  urgings of the Administration, and noting that general public assumptions of confidentiality of census data should be
  assured, Congress expressly overruled this holding.” Seymour v. Barabba, 559 F.2d 806 (D.C. Cir. 1977). And “The
  foregoing history of the Census Act reveals a congressional intent to protect the confidentiality of census
  information by prohibiting disclosure of raw census data reported by or on behalf of individuals. Subsequent
  congressional action is consistent with this interpretation. In response to claimed undercounts in the census of 1960
  and of 1970, Congress considered, but ultimately rejected, proposals to allow local officials limited access to census
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          Finally, Section 10231 only prohibits the release of data for “purpose[s] other than the
  purpose for which it was obtained.” This directly implicates the question of why the Attorney
  General collects data in in-custody deaths in the first place. As outlined in the following section,
  the legislative history of the DCRA itself makes it clear that the purpose of the data collection is
  to provide public transparency about the frequency of and circumstances under which in-custody
  deaths occur. Releasing the data to the public, in other words, is exactly the “purpose for which it
  was obtained.”


      B. Withholding in-custody death reports from public release contradicts the legislative
         intent of the DCRA.
           The first iteration of the DCRA was introduced in 2000 as a response to a series of
  investigative reports by Asbury Park Press journalist Mike Masterson, who found that little
  public information existed about in-custody deaths, despite the suspicious circumstances under
  which many such deaths occur.17 In his remarks supporting passage of the bill, sponsor Rep. Asa
  Hutchinson said, “This legislation will provide openness in government and will bolster public
  confidence and trust in our judicial system.”18 Likewise, in a speech supporting the current
  version of the DCRA in 2014, Sen. Patrick Leahy said the legislation would provide “important
  transparency to law enforcement efforts and our prison system” and further stated, “The Justice
  Department should have an opportunity to analyze the data and see what we can learn from it.
  And the American people deserve the same.”19 During debate over an identical bill in 2008,
  Representative Sheila Jackson-Lee of Texas said, “The Death in Custody Reporting Act is a
  critical oversight tool which allows State and local corrections officials and advocates to monitor
  in-custody suicides, homicides, drug and alcohol overdoses and other critical issues,” making it
  clear that dissemination of data collected under the law beyond the federal government was an
  integral part of the legislative intent behind the Death in Custody Reporting Act.20
           Had Congress intended data collected under the DCRA to be exempt from disclosure, it
  would be quite strange for the legislation’s principal supporters to say the opposite in their public
  remarks on the bill. In fact, if Congress’s intent were to make the data collected under DCRA
  exempt from disclosure under the FOIA, the OPEN FOIA Act of 2009, passed just five years
  earlier, provided them a straightforward, unambiguous means of doing so: Congress merely had
  to cite Exemption 3 of the FOIA in the text of the act, and the data collected under the act would

  data in order to challenge the census count.” Baldrige v. Shapiro, 455 U. S. 358, 102 S.Ct. 1103, 71 L.Ed.2d 199
  (1982).
  17
     See 146 Cong. Rec. H6736-H6737 (daily ed. July 24, 2000) (statement of Hon. Asa Hutchinson), available at
  https://www.congress.gov/congressional-record/2000/07/24/house-section/article/H6736-1.
  18
     Id.
  19
     See 160 Cong. Rec. S6341 (daily ed. Dec. 4, 2014) (statement of Sen. Patrick Leahy), available at
  https://www.congress.gov/congressional-record/2014/12/04/senate-section/article/S6341-2.
  20
     See 154 Cong. Rec. E2245 (daily ed. Oct. 3, 2008) (statement of Hon. Sheila Jackson-Lee), available at
  https://www.congress.gov/congressional-record/2008/10/03/extensions-of-remarks-section/article/E2245-1.
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  be indisputably exempt from disclosure. The fact that Congress did not do so is a clear indication
  that it intended for data collected under the DCRA to remain available to the public.
           As such, accepting OJP’s argument that Sections 10134 and 10231 prevent the disclosure
  of data collected in fulfillment of the DCRA would undermine the very purpose for which the
  DCRA was enacted. Thus, while the DCRA gives the Attorney General broad discretion over the
  form and manner in which to collect in-custody death data, that discretion cannot be construed so
  broadly as to allow the Attorney General to circumvent the fundamental purpose of the DCRA
  itself, viz. to provide the public with “important transparency” about “law enforcement efforts
  and our prison system.”
          The importance of this point is compounded by the fact that the Attorney General has yet
  to comply with the DCRA’s requirement that he “carry out a study of information reported
  under” the DCRA in order to “determine means by which such information can be used to reduce
  the number of such deaths” and “prepare and submit to Congress a report that contains the
  findings of the study.”21 A 2018 report by the Department of Justice’s Office of the Inspector
  General notes that “the Department does not have plans to submit a required report that details
  results of a study on DCRA data.”22 As such, the FOIA is the only means by which the public
  can obtain any information on deaths in custody reported to the Attorney General under the
  DCRA.


       II.      The OJP has not met its burden under the “foreseeable harm” standard.
         Under the FOIA Improvement Act of 2016, an agency may only withhold information
  under FOIA if it meets the following “foreseeable harm” standard:
             (A) An agency shall—
             (i) withhold information under this section only if—
             (I) the agency reasonably foresees that disclosure would harm an interest protected by an
             exemption described in subsection (b); or
             (II) disclosure is prohibited by law; and
             (ii) (I) consider whether partial disclosure of information is possible whenever the agency
             determines that a full disclosure of a requested record is not possible; and
             (II) take reasonable steps necessary to segregate and release nonexempt information.23


  21
     Pub. L. 113–242, §§ 2(f) and 3(c), Dec. 18, 2014, 128 Stat. 2861
  22
     U.S. Department of Justice Office of the Inspector General, “Review of the Department of Justice's
  Implementation of the Death in Custody Reporting Act of 2013,” 19-01, December 18, 2018, at i.
  23
     5 U.S.C. § 552(a)(8).
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  Under this “foreseeable harm” standard, an agency cannot withhold records merely on the basis
  of conclusory statements about the technical application of a statutory exemption; it must instead
  provide precise reasons why specific records, or portions thereof, could be reasonably foreseen
  to harm an interest protected by an exemption or are prohibited from disclosure by law.24
  Furthermore, when an agency determines that full disclosure of a record would lead to a
  foreseeable harm or violation of federal law, the standard requires that the agency must also
  determine whether partial disclosure of the record is possible and take reasonable steps to
  segregate and release nonexempt information. OJP has not met its burden under this standard.
          Courts have already recognized the impact of this new standard. For instance, in
  Ecological Rights Foundation v. F.E.M.A., the Northern District of California held that an
  agency could not rely on Exemption 5, along with the deliberative process privilege, because it
  failed to “provide basic information about the deliberative process at issue and the role played by
  each specific document.”25 In Rosenberg v. Department of Defense, the D.C. district court
  allowed that agencies could “take a categorical approach” by grouping together like documents,
  but nonetheless agencies must still “explain the foreseeable harm of disclosure for each
  category” of documents.26
         While 5 U.S.C. § 552(a)(8)(B) does state that “Nothing in this paragraph requires
  disclosure of information that is otherwise prohibited from disclosure by law, or otherwise
  exempted from disclosure under subsection (b)(3),” this does not relieve OJP of its burden to
  make specific determinations regarding the applicability of Exemption 3 to “each specific
  document” or “each category” of documents responsive to a request, as well as determinations
  regarding the partial disclosure of any portion of each specific document or category of
  documents if it determines that Exemption 3 prohibits full disclosure of the documents.
          In this case, OJP failed to articulate specific determinations for each category of
  documents responsive to the request, and it neglected to make any determination about the
  possibility of partial disclosure of the records at issue. Given that the OJP found more than 3,000
  pages of documents responsive to the request (presumably encompassing, at a minimum, two
  categories of documents: viz. DCR-1 death forms and DCR-1A quarterly summary forms), a
  conclusory statement that Sections 10134 and 10231 cover all of the documents in their entirety
  does not meet this burden. The agency should therefore be required to articulate specific and
  precise reasons why Exemption 3 precludes both full and partial disclosure of each document or
  category of documents.



  24
     See 162 Cong. Rec. S1496 (daily ed. Mar. 15, 2016) (statement of Sen. Leahy) (“Importantly, codifying the
  presumption of openness will help reduce the perfunctory withholding of documents through the overuse of FOIA
  exemptions. It requires agencies to consider whether the release of particular documents will cause any foreseeable
  harm to an interest the applicable exemption is mean to protect.”).
  25
     Ecological Rights Foundation v. FEMA, No. 16-cv-05254-MEJ, 2017 WL 5972702 (N.D. Cal., Nov. 30, 2017).
  26
     Rosenberg v. DOD, 342 F. Supp. 3d 62 (D.D.C. Sept. 27, 2018).
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                                             Conclusion
         For the foregoing reasons, the OJP’s response to my November 4, 2019, FOIA request is
  inadequate. The agency improperly applied Exemption 3 and failed to meet its burden under the
  “foreseeable harm” standard. Therefore, I respectfully request that OJP re-process the responsive
  records and disclose all non-exempt material contained in responsive records.
         Thank you for your attention to this matter. If you have any questions about this appeal or
  the underlying request, you may contact me by telephone at (917)-794-4583 or by email at
  ethan.corey@theappeal.org.
  Sincerely,
  Ethan Corey
  600 Hibben Magie Rd., Unit 201
  Princeton, NJ 08540
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